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           Exhibit A
                                                                                                              :
                                                                                                THE       STATE                        OF             TEXAS                                                     DOCKET      NO:           JS21-00215G
                                                                                                                  i
                                                                                                                                                                                                                SUIT DESCRIPTION:
                       TO                          THE   DEFENDANT:                  CREDENCE           RESOURCE                MANAGEMENT                 LLC    RA   CSC      LAWYERS   INCO                  SMALL      CLAIM
                                                                                     AT&T        INC    RA   CT               CORPORATION             SYSTEM
                                                                                                                                                                                                                                      i
                                                                                                                                                                                                                PLAINTIFF (S) :
Page 2 of 18 PageID 5




                                                                                                                                                                                                                MEEKS,      BRIEL
                       YOU                          HAVE      BEEN           SUED.             YOU MAY EMPLOY AN ATTORNEY                                    TO   HELP YOU        IN DEFENDING                  ATTY,      JAFFER             &    ASSOCIATES       PLLC
                                                                                                                                                                                                                8111    LBJ      FWY          STE       350
                          AGAINST                          THIS           LAWSUIT.               BUT    YOU ARE                 NOT   REQUIRED               TO   EMPLOY        AN ATTORNEY.          YOU       DALLAS, TX |75251
                                                                                                                                             '                                                                  (214)         238             4855
                            OR YOUR ATTORNEY MUST                                               FILE    AN ANSWER WITH                      THE            COURT.      YOUR ANSWER        IS   DUE    BY
                                                                                                                      I
                                                                                                                                             ;
                             THE END OF THE                                        14TH DAY AFTER THE DAY YOU WERE                                          SERVED WITH THESE             PAPERS.          IF
                             THE                    14 TH DAY IS A SATURDAY,,                            SUNDAY,                 OR LEGAL HOLIDAY,                      YOUR ANSWER IS DUE BY
                                                                                                                                                                                                                                          VS.
                              THE END OF THE FIRST DAY FOLLOWING THE                                                                   14TH DAY THAT                   IS NOT A SATURDAY,                       DEFENDANT (S) :.
                                                                                                                                                                                                                CREDENCE RESOURCE MANAGEMENT LLC
Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21




                                   SUNDAY,                 OR    LEGAL              HOLIDAY.            DO NOT                 IGNORE   THESE               PAPERS.        IF    YOU DO    NOT    FILE          RA CSC      LAWYERS INCO
                                                                                                                                                                                                                211    E   7TH STREET STE                     620
                                AN ANSWER BY                               THE      DUE        DATE,    A DEFAULT                    JUDGMENT              MAY BE      TAKEN AGAINST           YOU.    FOR      AUSTIN,          TX       78701
                                                                                                                                             !
                                   FURTHER INFORMATION,                                        CONSULT       PART V OF THE j TEXAS                            RULES OF          CIVIL    PROCEDURE,             AT&T       INC
                                                                                                                                                                                                                RA CT CORP dRAT I ON SYSTEM
                                WHICH                    IS   AVAILABLE                ONLINE          AND    ALSO              AT    THE    COURT           LISTED        ON   THIS    CITATION.               1999 BRYAN |ST SUITE 900
                                                                                                                                                                                                                DALLAS,          TX       75201
                                      IF YOU FAIL TO FILE, AN ANSWER,                                                     JUDGMENT      BY           DEFAULT      MAY BE        RENDERED       AGAINST
                                    YOU FOR THE RELIEF DEMANDED                                          IN THE                 PETITION.              A COPY OF PLAINTIFF'S                   PETITION                                       CITATION
                                                                                                                                                                                                                             IN THE               JUSTICE      COURT
                                        IS         ATTACHED           HERETO AND MADE A PART                                    HEREOF       AS        THOUGH WRITTEN             IN.
                                                                                                                                                                                                                                          i
                                                                                                                                                                                                                FILED       ON:           06-28-2021
                                         GIVEN UNDER MY HAND
                                                                                                                                                                                                                           I.
                                                                                               OFFICIALLY, I THIS                     JUNE           28,    2021.                                               CITATION ISSUED: 06-28-2021
                                                                                                                                                                                                                CITATION ISSUED TO
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                                                                                                                          I JUDGE MICHAEL JONES                       JR
                                                                                                                          1 JUSTICE OF | THE PEACE
                                                                                                                          i PRECINCT 4 ! PLACE 1
                                                                                                                                                                                                                MICHAEL          JONES
                                                                                                                                                                                                                JUSTICE OF |THE PEACE
                                                                                                                                                                                                                                                  JR                5^rr
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                                                                                                                          'DALLAS COUNTY                                                                        PRECINCT 4, | PLACE 1
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                                                                                                    &
                                                                                                                                                                                                                DALLAS       COUNTY
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                                                                                                                                                                                                                 106    W CHURCH                  ST    STE   205         .
                                                                      '     v *                                           !
                                                                                                                                                                                                                GRAND PRAIRilE,
                                                                                                                                                                                                                                                                                   n
                                                                                                                          I                                                                                                                            TEXAS 75050 r- i ^ p
                                                                                                                                                                                                                 (214) 751-4040                                               Q ^
                                                                                                                                                                                                                                                                              hi
                                                   SHERIFF        OR   CONSTABLE     SERVICE     RETURN:
                                                                                                                                                                                 DOCKET       NO:       JS21-00215G
                                                   CAME     TO    HAND    THIS        DAY   OF                          20         AT              O * CLOCK            .M,,     SUIT DESCRIPTION:
                                                                                                                                                                                 SMALL       CLAIM       :
                                                   AND
Page 3 of 18 PageID 6




                                                   EXECUTED         IN PERSON THIS             DAY    OF                 ,   20         AT             O ' CLOCK         .M. ,   PLAINTIFF (S) :
                                                                                                                                                                                 MEEKS, BRIEL
                                                   BY DELIVERING TO THE FOLLOWING NAMED DEFENDANT
                                                                                                                                                                                 ATTY,       JAFFER {& ASSOCIATES PLLC
                                                                                                                                                                                 8111       LB J FWY             STE   350
                                                   AT
                                                                                                                                  A TRUE      COPY      OF   CITATION.           DALLAS,       TX 75251
                                                                                                                                                                                 (214)         238       ,4855
                                                   (    )   EXECUTED BY 501.2(E)         THIS              DAY OF                             ,   20         AT
                                                            .0    CLOCK      .M. ,   BY ALTERNATIVE        SERVICE      DELIVERING           TO   THE    FOLLOWING
                                                                                                           AT
                                                                                                                                                                                                        VS.
                                                                                                                                                                                 DEFENDANT (S) :i
Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21




                                                                                                                                                                                 CREDENCE          RESOURCE MANAGEMENT                 LLC
                                                   (    )   EXECUTED BY 501.2(B)(2)            THIS             DAY OF                             ,    20         AT            RA    CSC    LAWYERS              INCO
                                                                                                                                                                                 211    E    7TH    STREET             STE    620
                                                             O'CLOCK         •M.,    BY REGISTERED OR CERTIFIED MAIL,                    RESTRICTED DELIVERY                     AUSTIN,       TX       78701
                                                   WITH RETURN RECEIPT OR ELECTRONIC RETURN RECEIPT REQUESTED TO THE FOLLOWING
                                                                                                                                                                                 AT&T INC                    j
                                                                                                                                                                                 RA CT CORPORATION SYSTEM
                                                                                                           AT                                                                    1999       BRYAN ST SUITE                   90 0
                                                                                                                    !                                                            DALLAS,       TX 75201
                                                   (    )   NOT    SERVED FOR THE      FOLLOWING REASON
                                                                                                                                                                                                         CITATION
                                                                                                                                                                                              IN THE,             JUSTICE      COURT
                                                   FEE:      $
                                                                                                                                                                                 FILED       ON:    06-28-2021
                                                                                                                                                                                 CITATION ISSUED: 06-28-2021
                                                                                        CONSTABLE,         PRECINCT NO.                                 DEPUTY                   CITATION ISSUED TO
                                                                                                                    |
                                                                                                                                                                                                    PLTF           ATTY
                                                                                                                                                                                 MICHAEL       JONES              JR
                                                                                                                                                                                 JUSTICE       OF       THE PEACE
                                                                                                                                                                                 PRECINCT          4,    PLACE 1
                                                                                                                                                                                 DALLAS.      COUNTY
                                                                                                                                                                                 106 W CHURCH 1ST STE 205
                                                                                                                                                                                 GRAND       PRAIRIE,,             TEXAS      75050
                                                                                                                                                                                 (214)       751-4040
     Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                        Page 4 of 18 PageID 7
                                                                                          6/25/2021 8:03 AM




                                                         JS21-00215G
                                         CAUSE NO.


      BRIEL MEEKS
                                                                   IN THE JUSTICE COURT
                  Plaintiff,


      v.                                                           PRECINCT 4 PLACE 1

      CREDENCE RESOURCE MANAGEMENT,
      LLC AND AT&T INC                                             DALLAS COUNTY, TEXAS



                  Defendants


                                    PLAINTIFF'S ORIGINAL PETITION


     TO THE HONORABLE JUDGE OF SAID COURT:


                 NOW COMES, Plaintiff BRIEL MEEKS ("Plaintiff'), by and through her attorneys,


            JAFFER & ASSOCIATES, PLLC, and brings this Original Petition against Defendants


            CREDENCE RESOURCE MANAGEMENT, LLC ("Defendant Credence") and AT&T


            INC ("Defendant AT&T") respectfully sets forth, corhplains, and alleges, upon information

                                                                                                              :
            and belief, the following:


                                  DISCOVERY CONTROL PLAN LEVEL


1.         Plaintiff reserves the right to petition this Court to engage in pretrial discovery pursuant to


           Rule 500.9 of the Texas Rules of Civil Procedure.


                                         PARTIES AND SERVICE

2.         Plaintiff is a resident of Dallas County, Texas.


3.     Plaintiff is a "Consumer" meaning Plaintiff is a natural person who is allegedly obligated to


       pay any debt.


4.     The "Consumer Debt" is an obligation or alleged obligation of the Plaintiff to pay any money

       arising out of a transaction in which the money, property, or services which are the subject of



                                                   Page 1 of 9
     Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                         Page 5 of 18 PageID 8




            the transaction are primarily for personal, family, or household purposes.

 Defendant Credence Resource Management, LLC ("Defendant Credence")


 5.         Defendant is a Texas based debt collector that regularly collects or attempts to collect debts

            due to third-parties, directly or indirectly from consumers in the State of Texas.


 6.         Defendant can be served with a copy of this Petition along with Citation upon its registered

            agent Corporation Service Company DBA CSC Lawyers Inco at 211 E 7th Street Suite 620             i


            Austin, Tx 787.01.


7.          Defendant is a person who engages in interstate commerce by using the telephone and mail

            in a business which the principal purpose is the collection of debts.

8.          Defendant is a debt collector as defined under 1 5 U.S.C. § 1 692(a)(6) because Defendant has


           engaged in direct or indirect debt collection against Plaintiff in Texas.


Defendant AT&T Inc ("Defendant AT&T")


9.           Defendant AT&T is a "debt collector" as defined by Tex. Fin. Code Ann. § 392.001 (6),

10.          Defendant AT&T engaged in "debt collection" as defined by Tex. Fin. Code Ann. §


       ,    392.001(5).


I I.         Defendant AT&T may be served with process through its registered agent for service of


            process CT Corporation System at 1999 Bryan St, Suite 900, Dallas, Texas 75201 .

12.          AT&T is a debt collector as defined under Tex. Fin. Code Ann. § 393.303(a)(6) because


            AT&T has engaged in indirect debt collection against the Plaintiff in Texas




                                        JURISDICTION & VENUE


13.        This Court has personal jurisdiction over all the parties because both parties reside and/or

           engage in business in the State of Texas. Further, this Court has jurisdiction of this cause of



                                                   Page 2 of 9
  Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                           Page 6 of 18 PageID 9




         action in that it involves an amount in controversy within the original jurisdiction of this

         Court.

 14.     Plaintiffs seek monetary relief within this Court's jurisdictional limits.

 15.     Venue in Dallas County, Texas: is proper in this cause pursuant.to Section 15.002 of the Texas


         Civil Practice and Remedies Code because all or a substantial part of the events or omissions


        giving rise to this lawsuit occurred in Dallas County, Texas,


                                      FACTUAL ALLEGATIONS
                                                                                                               i


 1 6.   Plaintiff incorporates by reference all of the above paragraphs of this Petition as though fully


        stated herein with the same force and effect as if the same were set forth at length herein.


17.     On or about December 28, 2020, Plaintiff had started services with Defendant AT&T but


        quickly cancelled its services on January 4, 2021 as the service never really worked properly


        in her area.


18.     As soon as the Plaintiff cancelled Defendant AT&T's services, Plaintiff returned the phone


        device and got a receipt acknowledging the return of the device after paying $55 as restocking


        fees. (See receipt at Exhibit A)
                                                                                                           i
19.     On or about May 17, 2021, the Plaintiff Was alerted by Experian Credit Monitoring that there


        has been a collection that has been added to her account causing her credit score to drop by


        17 points. (See Exhibit B)


20.     Plaintiff on pulling up her credit report realized that her AT&T account has been sent for

        collections to Defendant Credence for an alleged debt of $1045.00. (See Credit Reports at


        Exhibit C)


21.     Plaintiff immediately called up Defendant AT&T's customer care and informed them that

        since the Plaintiff had cancelled services on January 4, 2021 and returned the device



                                                Page 3 of 9
 Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                        Page 7 of 18 PageID 10




        immediately on cancellation, she should not owe the alleged debt amount and further enquired

        as to how collections had erroneously been added to her credit file.

 22.    Plaintiff was advised by the Customer Care executive to visit an AT&T Store to get the

        account amount clarified as their customer care systems aren't connected to the store servers


        and only the in store managers are authorized to remove collections after verifying the


        account.


23.     Plaintiff had no option but to personally go down to the AT&T store to redress her grievance


       against the erroneous reporting on her credit file. The AT&T representative was able tQ pull


       up her file information which correctly showed that the Plaintiff returned the device and


       showed the cancellation of services. Plaintiff was then advised to call the loyalty department   i

       of Defendant AT&T. However, since it was after 5pm, the loyalty department was closed.

       Plaintiff nonetheless spoke to several representatives in customer care who informed her that


       since the AT&T Store had not documented the receipt of the device, the balance is still there.


       Plaintiff was again informed the loyalty department cannot take it out of collection as that


       would have to be done by the AT&T store after speaking to the collection agency reporting


       the debt. The Plaintiff was advised once again to visit the AT&T Store although she had just


       left the store and after going back and forth several times with both the AT&T Store and the


       Loyalty Department, Plaintiff was left utterly frustrated with the issue at hand unresolved.


24.    Plaintiff had no previous knowledge ofthe alleged debt as Defendant Credence had never sent


       any communication to the Plaintiff regarding the alleged consumer debt.


25.    Defendant AT&T never communicated that Plaintiff had an unpaid balance prior to sending

       the Plaintiff s account to Defendant Credence for collections;




                                              Page 4 of 9
 Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                            Page 8 of 18 PageID 11




 26.    Plaintiff called an. apartment near her daughter's school hoping to get a lease, however was


        told on the phone that if she applied, she would be denied due to her credit report showing

        any recent collections exactly like Defendant Credence was reporting on Experian. S_ee


        Exhibit B. The Defendant's conduct has severely injured her credit score for no fault of her


        own which severely affected her chances for securing that apartment.

27.     The. said erroneous reporting continues to affect Plaintiff s creditworthiness, credit score; and


        ability to acquire credit on otherwise superior terms,


28.     Plaintiff had her Credit Limit for her SYNCB/ROOMS TO GO account lowered from $3,000

       to $ 1 ,800 as a result of her lowered credit score. See Exhibit D.


29.    As a result of the Defendants conduct and the incorrect information furnished by the


       Defendant AT&T on Plaintiff's credit file, Plaintiff has suffered a decreased credit score and


       credit limit in addition to mental anguish, distress, and frustration.

30.    Defendant-Credence has violated the FDCPA and TDCA when the Defendant attempted to


       collect an unauthorized debt from the Plaintiff


31.    Defendant AT&T violated the TDCA             when the     Defendant      attempted to collect an
                                                                                                            1
       unauthorized debt from the Plaintiff.


32.    Plaintiff is entitled for costs of this action, including reasonable attorneys' fees and expenses


       as allowed under the FDCPA and the TDCA from Defendant Credence and under the TDCA
                                                                                                            i
       from Defendant AT&T.


                           FIRST CAUSE OF ACTION
           VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                    15 U.S.C. §1692 et seq. by Defendant Credence

       Plaintiff re-alleges and incorporates by reference paragraphs in this petition as though fully


       set forth herein.



                                               Page 5 of 9
      Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                           Page 9 of 18 PageID 12




      33.      Defendant's debt collection efforts against Plaintiff Violated various provisions of the


              FDCPA.


  34,         Section § 1 692e provides a non-exhaustive list of false, deceptive, and misleading conduct

              prohibited by the statute including:


                          (2)    The false representation of the character, amount, or legal status of any debt;


                          (8)    Communicating or threatening to        communicate to      any person credit


                          information which is known or which should be known to be false; and
                                                                                                                   :


                          (10)   The use of any false representation or deceptive means to collect or attempt


                          to collect any debt or to obtain information concerning a customer.


       35.       For the aforementioned-reasons, Defendant Credence has violated §§1 692(e).


       36.       Section § 1 692f provides a debt collector may not use unfair or unconscionable means to


       collect or attempt to collect any debt.


                       (1)        The collection of any amount unless such amount is expressly authorized


                                  by the agreement creating the debt or permitted by law.


37.          For the aforementioned-reasons, Defendant Credence has violated §§ 1 692(f).


38.          For these reasons, the Defendant is liable to Plaintiff for actual and statutory damages, costs,


             and reasonable attorney's fees.


                                          SECOND CAUSE OF ACTION
                        VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                             Tex. Fin. Code Ann. § 392 etseq. by Defendant Credence


 39.            Plaintiff re-alleges and incorporates by reference paragraphs in this petition as though


             fully set forth herein.


 40.            Defendant Credence debt collection efforts against Plaintiff violates the TDCA.




                                                      Page 6 of 9
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41.       Section 392.304 provides a non-exhaustive list of Fraudulent, Deceptive, or Misleading

       Representations prohibited by a debt collector:

           (a)     misrepresenting the character, extent, or amount of a consumer debt. Tex, Fin.

           Code Ann. §392.304 (8); and


          (b)      using any other false representation or deceptive means to collect a debt or obtain


           information concerning a consumer. Tex. Fin. Code Ann. §392.304 (19).

42.       For the aforementioned-reasons, Defendant Credence violated the TDCA.


43.   For these reasons, the Defendant Credence is liable to Plaintiff for actual damages, costs, and

      reasonable attorney's fees.


44.   For the aforementioned-reasons, Defendant Credence violated the TDCA.
                                                                                                         I


45.   For these reasons, Defendant Credence is liable to Plaintiff for actual damages, costs, and
                                                                                                         I
      reasonable attorney's fees.


                               THIRD CAUSE OF ACTION
                 VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                  Tex. Fin. Code Ann. § 392 et seq. by the. Defendant AT&T


46.   Plaintiff re-alleges and incorporates by reference paragraphs in this petition as though fully

      set forth herein.


47.   Defendant AT&T's debt collection efforts against Plaintiff violates the TDCA.
                                                                                                         ;


      Section 392.304 provides a non-exhaustive list of Fraudulent, Deceptive, or Misleading


      Representations prohibited by a debt collector:


           (a)    misrepresenting the character, extent, or amount of a consumer debt.      Tex. Fin.

                  Code Ann. §392.304 (8); and


           (b)   using any other false representation or deceptive means to collect a debt or obtain


                 information concerning a consumer. Tex. Fin. Code Ann. §392.304 (19).


                                              Page 7 of 9
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48.   For. the aforementioned-reasons, Defendant AT&T violated the TDCA.
                                                                                                        !


49.   Defendant AT&T put a false collection charge on Plaintiffs credit Report severely injuring        !
                                                                                                        !

      her Credit Score.


50.   For these reasons, the Defendant AT&T is liable to Plaintiff for actual damages, costs, and


      reasonable attorney's fees.


                                      PRAYER FOR RELIEF




      WHEREFORE, Plaintiff demands judgment from Defendants as follows:


              1.    Awarding Plaintiff statutory damages up. to $ 1 ,000.00 under the


                    FDCPA from Defendant Credence;


              2.    Awarding Plaintiff actual damages under the FDCPA from

                    Defendant Credence;

                                                                                                    1
              3.   Awarding Plaintiff costs of this action, including reasonable


                   attorneys' fees and expenses as allowed under the FDCPA from


                   Defendant Credence;
                                                                                                    ;




                   Awarding Plaintiff statutory damages not less than $100100


                   under the TDCA from Defendant Credence and Defendant

                   AT&T;


             5,    Awarding Plaintiff actual damages under the TDCA from


                   Defendant Credence and Defendant AT&T;


             6.    Awarding Plaintiff injunctive relief under the TDCA from


                   Defendant Credence and Defendant AT&T;




                                            Page 8 of 9
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           7.   Awarding Plaintiff costs of this action, including reasonable


                attorneys' fees and expenses as allowed under the TDCA from


                Defendant Credence and Defendant AT&T; and

           8.   Awarding Plaintiff such other and further relief as this Court


                may deem just and proper.




 DATED: June 24, 2021                         Respectfully Submitted,


                                              JAFFER & ASSOCIATES, PLLC                     i

                                                                                            ;


                                              /s/ Allen Robertson
                                              Allen Robertson
                                              Bar No.: 24076655
                                              Shawn Jaffer
                                              Bar No.: 24107817
                                              8111 LBJ Fwy, Suite 350
                                              Dallas, TX 75251
                                              T: (214) 238-4855
                                             F: (888) 530-3910
                                              E-mail: attorneys@jaffer.law
                                             Attorneys for Plaintiff




                                       Page 9 of 9
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                                       Hello BRIEL DAVAIN M,

                               :   Thank you for visiting ANIKA WIRELESS -
                               i       GRAND PRAIRIE selling AT&T Owned                                              j
                               1       Inventory for AT&T in GRAND PRAIRIE, T^f^
                               :                                                        '
                            :      Store Information
                           .       Sales. Rep: Mansoor Sarmast
                                   3040 W CAMP WISDOM RD STE 180, ,
                                   GRAND. PRAIRIE, TX 75.052
                           ;       (214) 518-6400
                           '       OM Register: 3


                           :       BRIEL DAVAIN M 972-900r8785
                           ;       01/04/2021

                                   Item                                                      Extended
                                           Description
                                   ID                                                               Price
                       I           6902C PHO APL IPH 12PM 128GB
                                           SERNO 35710491307653')                                       :>

                       :                   FINANCED. $1099,99../.         *                                                    :

                                           DOWN PAYMENT: $0.00            ..            5-1090:99                              ;
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                                   .       INSTALLMENTPLAN ID for     -
                       !           : ; :'Ii,977?00873Sr 150000033158892 ;
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                                   81088 RESTOCKING FEE                                                      !
                                                                                                  $55.00         .
                                           1 @ $55.00
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                                   Subtotal                                             $-1044.99            '
                                   Tax                                                           $-90.75     ,

                                   Installment Plan Agreement 972-900-8785              $-1099.99            I                 1
                                   MASTERCARD TENDERED                                           $-35,75
                                   Account Number:                                                  9839
                   .               Authorization:                                  Autl-i No. null
                   1               CHANGE DUE                                                      $0.00
                   '               Total Amount Paid                                             $-35.75


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                                   51-536000031007452
Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                                                                                                      Page 14 of 18 PageID 17




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Case 3:21-cv-01775-D Document 1-1 Filed 07/30/21                        Page 15 of 18 PageID 18


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  * «. Alerts




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            i            I Select all       £3 Mark as read     . \wj Delete



                    Stay on top of your info with 3-bureau credit monitoring, Dark Web

                    Surveillance and more; See what else you re rnissing.           ;   ,,




                             Score Decrease




                                                                                  Financial
                                                                              May 17, 2021




                             Collections


        i            :       account as Collections.

                                                                                 Financial'
                                                                              May 17, 2021
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TransUnion Credit Report                                                                                                   Page 3 of 22


CREDENCE RESOURCE MANAGEMENT
#25960*®**
4222 "TRINITY MILLS
surreafia. .
DALLAS, IX 75287
(214)873-6651              .
                                                                                                                  V.
                                                                                                                       C    J
Placed for collaction:   03/25^2021           Balanca:             $1,045         Pay Status:   pin Collection*
Responsibility:          Individual Account   Debt Update          OS/15/2021
AccountTypa:             Open Aaount          Original Amount:     tms:
Loan Typo:               COLLECTION           Original Creditor:
                         A66NCY/ATT0RNEY      Past Due:
Ram»rlt*;>PL>CEpFOR CpU£CriON<
Estimotad month and y«ar that tWo Itam WHl bo removed: 01/2028




                                                                                                                                          j


                                                                                                                                          I

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                                                                            'a.                                             5/21/2021
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                                                                                                                  i




                 collection accounts
                                                                                                         v

                                                                      Reports & Scores



           CREDENCE RESOURCE MANA                                             -

                                                                      "Finances
            Original creditor:                                                                   c            J
            ATT MOBILITY
                                                                      Protection
            $1,045
            Balance updated May 1 5, 2021

                                                                      Credit Cards



                                                                      Loans




htlps://usa.experian,com/.msrnber/reports/experian/how?scroll=f3lse                      5/21/21, 12:57 AM
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                                                                                                       I
                                                    6/23/2021
                                                                                                                                            image2.jpeg
                                                                   'May 26, 202l"
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                                                                                                                                                          a.
                                                                                                           W ' -/v                                             EXHIBIT
                                                       |       ;   What happened?                                            I
                                                                                                                             1
                                                                                                                                                                 D
                                                                   SYNCB/ROOMS TO GO lowered your Credit Limit
                                                           I
                                                                                                                                                          V          J
                                                                   Source:
                                                                   Experian
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                                                                   Company:
                                                                                                                                                                         1
                                                                   SYNCB/ROOMS TO GO
                                                                   Address:
                                                                   Po Box 965036, Orlando, FL 32896-5036
                                                                   Phone:
                                                                   (866) 396-8254
                                                                   Activity:
                                                                   Revolving Charge Accounta
                                                                   Previous Limit:
                                                                   $3,000.00
                                                                                                                                                                             i
                                                                   New Limit:
                                                                   $1,080.00
                                                                   What now?
                                                                   Having a low credit limit may negatively impact
                                                                   your credit utilization ratio, one of the main
                                                                   ingredients in calculating your FICO®1 Score.
                                                                   A new credit card could help raise your limit—
                                                                       the nnac u«o'a/o mo+r>horl tn
                                                   https://mail.google.eom/mail/u/O/#inbox/FMfcgzGkXwFXTrriFqksDVwDdZSRGKvgbg?projector=1                                        1/2
